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                       Exhibit H
     Case 1:19-cr-00018-ABJ Document 351-9 Filed 02/26/20 Page 2 of 3




                        UNITED STATES DISTRICT COURT
                              DISTRICT OF COLUMBIA
UNITED STATES OF AMERICA
     Plaintiff,                                       1: 19-CR-00018 (ABJ)

v.
ROGER JASON STONE, JR.,
    Defendants.


               SWORN AFFIDAVIT OF MR. MICHAEL CERNOVICH
MICHAEL CERNOVICH, having been duly sworn, does depose and state:

      1. I am over the age of 18 and understand and believe in the obligation of an oath.

      2. The facts set forth herein are within my personal knowledge.

      3. I am the proposed intervenor in this case.

      4. I am a journalist, author, and filmmaker. My most recent film, "Hoaxed Move,"

         explores how media narrative are created and manipulated by bad actors from

         a variety of political perspectives.

      5. I am also a published constitutional law scholar. My writings on criminal and

         constitutional law can be found in the Encyclopedia of American Civil Liberties

         (Paul Finkelman, ed.). My entries include "Criminalization of Civil Wrongs,"

         "Gregg v. Georgia," and "City of Los Angles v. Lyons." I also publish a blog

          entitled "Crime & Federalism," and my legal writing has been cited in federal

          court opinions.

       6. I am a popular reporter and commentator. My tweets receive over one billion

          impressions per year, and in the month of January 2020 alone, my tweets

          received over 150 million impressions.
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7. My unorthodox reporting methods have been covered by mainstream media

     publications including the New York Times, the New Yorker, and the Columbia

     Journalism Review.

8. As a journalist and a legal scholar, I regularly report and opine on political and

         legal matters, including matters related to President Donald J. Trump.

9. The media coverage of Mr. Stone's case has been consistent with my

         journalistic and legal interests, and I have covered and commentated on the

         trial.

 10.After CNN identified one of the jurors from Mr. Stone's trial as

                      I personally performed a follow-up investigation into             social

         media, and I uncovered her extensive social media footprint including at least

         one tweet about the defendant, Mr. Stone.

 11.1 have filed open-records motions in the past including in the Second Circuit

         Court of Appeals in a case involving jeffrey Epstein.

 12.1 have not coordinated this filing with any other party, including the United

         States.



                                                             SIGNED ~ ~
                                                                    MICHAEL CERNOVICH



          Duly sworn to and subscribed before me this Ii day of February, 2020.



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                                 Orange County
                            Commission# 2173292
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